Mr. Robert B. Beach Friday, Eldredge  Clark 2000 First Commercial Bldg. Little Rock, AR 72201
Dear Mr. Beach:
This is in response to your request for my review and approval of an Interlocal Cooperation Agreement ("Agreement") in connection with the Arkansas School Districts' 1992 Cash Flow Borrowing Program. You have requested my review pursuant to A.C.A. §25-20-101 et seq. (Repl. 1992).
My review indicates that the Agreement is in proper form and compatible with the laws of this state. The Agreement is therefore hereby approved. There appears to be no signature requirement under A.C.A. § 25-20-104(f) with regard to the Attorney General's approval. This letter will, therefore, serve to reflect my approval.
The foregoing opinion, which I hereby approve, was prepared by Deputy Attorney General Elisabeth A. Walker.
Sincerely,
WINSTON BRYANT Attorney General
WB:cyh